•                                        21-mj-4099-MCALILEY
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          KS

    Oct 26, 2021                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA
            Miami


                                        Holding a Criminal Term

                                Grand Jury Sworn in on January 8, 2021

       UNITED STATES OF AMERICA                            CRIMINAL NO.

                    v.                                    MAGISTRATENO.

       GILBERT FONTICOBA,                                 VIOLATIONS:
                                                          18 U.S.C. §§ 1S12(c)(2), 2
                          Defendant.                      (Obstruction of an Official Proceeding)
                                                          18 U.S.C. § 23l(a)(3), 2
                                                          (Civil Disorder)
                                                          18 U.S.C. § l7S2(a)(l)
                                                          (Entering and Remaining in a Restricted
                                                          Building or Grounds)
                                                          18 U.S.C. § 17S2(a)(2)
                                                          (Disorderly and Disruptive Conduct in a
                                                          Restricted Building or Grounds)
                                                          40 U.S.C. § 5104(e)(2)(D)
                                                          (Disorderly Conduct in a Capitol Building)
                                                          40 U.S.C. § S104(e)(2)(G)
                                                          (Parading, Demonstrating, or Picketing in
                                                          Capitol Building)

                                            I N D I C T M EN T

             The Grand Jury charges that:

                                              COUNT ONE

             On or about January 6, 2021, within the District of Columbia and elsewhere, GILBERT

      FONTICOBA attempted to, and did, corruptly obstruct, influence, and impede an official

      proceeding, that is, a proceeding before Congress, specifically, Congress's certification of the

      Electoral College vote as set out in the Twelfth Amendment of the Constitution of the United

      States and 3 U.S.C. §§ 15-18.

               (Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
               18, United States Code, Sections 1512(c)(2) and 2)
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